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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                              MACON DIVISION

MARION WILSON, JR.,                *     CIVIL ACTION NO.
                                   *     5:10-CV-489-MTT
     Petitioner,                   *
                                   *
v.                                 *     HABEAS CORPUS
                                   *
CARL HUMPHREY, Warden,             *
Georgia Diagnostic and             *
Classification Center,             *
                                   *
     Respondent.                   *

                            NOTICE OF FILING

      COMES NOW Carl Humphrey, Warden, Respondent in the above-

styled application for federal habeas corpus relief and pursuant

to Rule 5 of the Rules Governing Section 2254 Proceedings, files

this his Notice of Filing of the following documents to be

utilized by this Court in considering Petitioner’s application

for federal habeas corpus relief:

      Respondent’s Exhibit No. 1 – Record on direct appeal in the

Georgia Supreme Court (pages 1-984);

      Respondent’s Exhibit No. 2 – Transcript of a pretrial

hearing conducted in the Superior Court of Baldwin County,

Georgia on March 21, 1997 (pages 1-33);

      Respondent’s Exhibit No. 3 – Transcript of an ex parte

hearing conducted in the Superior Court of Baldwin County,

Georgia on April 11, 1997 (pages 1-12);
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     Respondent’s Exhibit No. 4 – Transcript of an ex parte

hearing conducted in the Superior Court of Baldwin County,

Georgia on June 26, 1997 (pages 1-10);

     Respondent’s Exhibit No. 5 – Transcript of a pretrial

motions hearing conducted in the Superior Court of Baldwin

County, Georgia on June 26, 1997 (pages 1-32);

     Respondent’s Exhibit No. 6 – Transcript of an ex parte

hearing conducted in the Superior Court of Baldwin County,

Georgia on September 10, 1997 (pages 1-5);

     Respondent’s Exhibit No. 7 – Transcript of a pretrial

hearing conducted in the Superior Court of Baldwin County,

Georgia on September 10, 1997 (pages 1-34);

     Respondent’s Exhibit No. 8 – Transcript of a pretrial

motions hearing conducted in the Superior Court of Baldwin

County, Georgia on September 26, 1997 (pages 1-224);

     Respondent’s Exhibit No. 9 – Transcript of a pretrial

hearing conducted in the Superior Court of Baldwin County,

Georgia on October 3, 1997 (pages 1-8);

     Respondent’s Exhibit No. 10 – Transcript of an ex parte

hearing conducted in the Superior Court of Baldwin County,

Georgia on October 3, 1997 (pages 1-4);




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     Respondent’s Exhibit No. 11 – Transcript of an ex parte

hearing conducted in the Superior Court of Baldwin County,

Georgia on October 9, 1997 (pages 1-4);

     Respondent’s Exhibit No. 12 – Transcript of a pretrial

motions hearing conducted in the Superior Court of Baldwin

County, Georgia on October 9, 1997 (pages 1-55);

     Respondent’s Exhibit No. 13 – Transcript of an ex parte

hearing conducted in the Superior Court of Baldwin County,

Georgia on October 17, 1997 (pages 1-5);

     Respondent’s Exhibit No. 14 – Transcript of a pretrial

motions hearing conducted in the Superior Court of Baldwin

County, Georgia on October 17, 1997 (pages 1-48);

     Respondent’s Exhibit No. 15 – Transcript of the trial

proceedings conducted in the Superior Court of Baldwin County,

Georgia on October 27 – November 7, 1997, Volume I of VIII

(pages 1-374);

     Respondent’s Exhibit No. 16 – Transcript of the trial

proceedings conducted in the Superior Court of Baldwin County,

Georgia on October 27 – November 7, 1997, Volume II of VIII

(pages 375-751);

     Respondent’s Exhibit No. 17 – Transcript of the trial

proceedings conducted in the Superior Court of Baldwin County,




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Georgia on October 27 – November 7, 1997, Volume III of VIII

(pages 752-1118);

     Respondent’s Exhibit No. 18 – Transcript of the trial

proceedings conducted in the Superior Court of Baldwin County,

Georgia on October 27 – November 7, 1997, Volume IV of VIII

(pages 1119-1471);

     Respondent’s Exhibit No. 19 – Transcript of the trial

proceedings conducted in the Superior Court of Baldwin County,

Georgia on October 27 – November 7, 1997, Volume V of VIII

(pages 1472-1811);

     Respondent’s Exhibit No. 20 – Transcript of the trial

proceedings conducted in the Superior Court of Baldwin County,

Georgia on October 27 – November 7, 1997, Volume VI of VIII

(pages 1812-2174);

     Respondent’s Exhibit No. 21 – Transcript of the trial

proceedings conducted in the Superior Court of Baldwin County,

Georgia on October 27 – November 7, 1997, Volume VII of VIII

(pages 2175-2529);

     Respondent’s Exhibit No. 22 – Transcript of the trial

proceedings conducted in the Superior Court of Baldwin County,

Georgia on October 27 – November 7, 1997, Volume VIII of VIII

(pages 2530-2793);




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     Respondent’s Exhibit No. 23 – Transcript of the motion for

new trial hearing conducted in the Superior Court of Baldwin

County, Georgia, on December 15, 1998 (pages 1-74);

     Respondent’s Exhibit No. 24 - Brief of Appellant and

Enumeration of Errors on direct appeal to the Georgia Supreme

Court, Case No. S99P0651, dated March 15, 1999 (79 pages);

     Respondent’s Exhibit No. 25 - Brief on Behalf of the

Appellee by the Attorney General on direct appeal to the Georgia

Supreme Court, Case No. S99P0651, dated April 5, 1999 (146

pages);

     Respondent’s Exhibit No. 26 – Decision of the Georgia

Supreme Court affirming Appellant’s conviction and death

sentence, dated November 1, 1999 (18 pages);

     Respondent’s Exhibit No. 27 – Appellant’s Motion for

Reconsideration and Alternatively, Motion to Withhold Ruling on

direct appeal to the Georgia Supreme Court, Case No. S99P0651,

dated November 10, 1999 (45 pages);

     Respondent’s Exhibit No. 28 – Order of Georgia Supreme

Court denying Appellant’s Motion for Reconsideration, Case No.

S99P0651, dated December 20, 1999 (1 page);

     Respondent’s Exhibit No. 29 – Petition for Writ of

Certiorari to the Supreme Court of Georgia in the Supreme Court

of the United States, dated May 17, 2000 (43 pages);




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     Respondent’s Exhibit No. 30 – Brief in Opposition on Behalf

of the Respondent in the Supreme Court of the United States,

dated July 18, 2000 (19 pages);

     Respondent’s Exhibit No. 31 – Order of the Supreme Court of

the United States denying Petition for Writ of Certiorari, dated

October 2, 2000 (1 page);

     Respondent’s Exhibit No. 32 – Petition for Rehearing of

Denial of Petition for Writ of Certiorari in the Supreme Court

of the United States, dated October 27, 2000 (7 pages);

     Respondent’s Exhibit No. 33 – Order of the Supreme Court of

the United States denying Petition for Rehearing, dated November

27, 2000 (1 page);

     Respondent’s Exhibit No. 34 – Application for Writ of

Habeas Corpus and Petition for Writ of Habeas Corpus filed in

the Superior Court of Butts County, Georgia, dated January 19,

2001 (16 pages);

     Respondent’s Exhibit No. 35 – Return and Answer by

Respondent filed in the Superior Court of Butts County, Georgia,

dated February 7, 2001 (12 pages);

     Respondent’s Exhibit No. 36 – Order of assignment filed in

the Superior Court of Butts County, Georgia, dated March 13,

2001 (1 page);




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     Respondent’s Exhibit No. 37 – Scheduling order filed in the

Superior Court of Butts County, Georgia, dated June 1, 2001 (3

pages);

     Respondent’s Exhibit No. 38 – Transcript of a motions

hearing conducted in the Superior Court of Butts County,

Georgia, dated August 21, 2001 (34 pages);

     Respondent’s Exhibit No. 39 – Petitioner’s Motion to Extend

Scheduling Order Deadlines Ninety Days filed in the Superior

Court of Butts County, Georgia, dated November 13, 2001 (9

pages);

     Respondent’s Exhibit No. 40 – Order granting Petitioner’s

Motion to Extend Scheduling Order Deadlines Ninety Days filed in

the Superior Court of Butts County, Georgia, dated November 16,

2001 (1 page);

     Respondent’s Exhibit No. 41 – Stipulated Discovery Schedule

Motion filed in the Superior Court of Butts County, Georgia,

dated January 22, 2002 (4 pages);

     Respondent’s Exhibit No. 42 – Order granting Stipulated

Discovery Schedule Motion filed in the Superior Court of Butts

County, Georgia, dated January 28, 2002 (1 page);

     Respondent’s Exhibit No. 43 – First Amendment to Petition

for Writ of Habeas Corpus filed in the Superior Court of Butts

County, Georgia, dated February 22, 2002 (52 pages);




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     Respondent’s Exhibit No. 44 – Return and Answer to

Petitioner’s First Amendment to Petition for Writ of Habeas

Corpus filed in the Superior Court of Butts County, Georgia,

dated March 18, 2002 (25 pages);

     Respondent’s Exhibit No. 45 – Motion to Extend Respondent’s

Discovery Deadline filed in the Superior Court of Butts County,

Georgia, dated May 16, 2002 (4 pages);

     Respondent’s Exhibit No. 46 – Order granting Motion to

Extend Respondent’s Discovery Deadline filed in the Superior

Court of Butts County, Georgia, dated May 22, 2002 (1 page);

     Respondent’s Exhibit No. 47 – Amended Motion to Extend

Respondent’s Discovery Deadline filed in the Superior Court of

Butts County, Georgia, dated June 3, 2002 (4 pages);

     Respondent’s Exhibit No. 48 – Scheduling Order filed in the

Superior Court of Butts County, Georgia, dated June 11, 2002 (1

page);

     Respondent’s Exhibit No. 49 – Order granting Petitioner’s

request for extension of rebuttal discovery filed in the

Superior Court of Butts County, Georgia, dated October 3, 2002

(1 page);

     Respondent’s Exhibit No. 50 – Order of reassignment filed

in the Superior Court of Butts County, Georgia, dated December

22, 2003 (1 page);




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     Respondent’s Exhibit No. 51 – Statement of Position of

Respondent filed in the Superior Court of Butts County, Georgia,

dated April 12, 2004 (5 pages);

     Respondent’s Exhibit No. 52 – Petitioner’s Statement of

Position of Case filed in the Superior Court of Butts County,

Georgia, dated April 16, 2004 (4 pages);

     Respondent’s Exhibit No. 53 – Scheduling Order filed in the

Superior Court of Butts County, Georgia, dated December 9, 2004

(2 pages);

     Respondent’s Exhibit No. 54 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 1 of 19 (pages

1-266);

     Respondent’s Exhibit No. 55 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 2 of 19 (pages

267-555);

     Respondent’s Exhibit No. 56 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 3 of 19 (pages

556-880);

     Respondent’s Exhibit No. 57 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts




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County, Georgia, on February 22-23, 2005, Volume 4 of 19 (pages

881-1084);

     Respondent’s Exhibit No. 58 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 5 of 19 (pages

1085-1418);

     Respondent’s Exhibit No. 59 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 6 of 19 (pages

1419-1726);

     Respondent’s Exhibit No. 60 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 7 of 19 (pages

1727-2061);

     Respondent’s Exhibit No. 61 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 8 of 19 (pages

2062-2425);

     Respondent’s Exhibit No. 62 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 9 of 19 (pages

2426-2724);




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     Respondent’s Exhibit No. 63 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 10 of 19 (pages

2725-3007);

     Respondent’s Exhibit No. 64 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 11 of 19 (pages

3008-3300);

     Respondent’s Exhibit No. 65 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 12 of 19 (pages

3301-3593);

     Respondent’s Exhibit No. 66 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 13 of 19 (pages

3594-3883);

     Respondent’s Exhibit No. 67 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 14 of 19 (pages

3884-4172);

     Respondent’s Exhibit No. 68 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts




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County, Georgia, on February 22-23, 2005, Volume 15 of 19 (pages

4173-4455);

     Respondent’s Exhibit No. 69 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 16 of 19 (pages

4456-4859);

     Respondent’s Exhibit No. 70 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 17 of 19 (pages

4860-5110);

     Respondent’s Exhibit No. 71 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 18 of 19 (pages

5111-5339);

     Respondent’s Exhibit No. 72 – Transcript of the State

Habeas Corpus evidentiary hearing in the Superior Court of Butts

County, Georgia, on February 22-23, 2005, Volume 19 of 19 (pages

5340-5679);

     Respondent’s Exhibit No. 73 – Scheduling Order filed in the

Superior Court of Butts County, Georgia, dated March 7, 2005 (2

pages);




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     Respondent’s Exhibit No. 74 – Petitioner’s Motion to

Supplement the Record filed in the Superior Court of Butts

County, Georgia, dated April 13, 2005 (23 pages);

     Respondent’s Exhibit No. 75 – Objection to Petitioner’s

Motion to Supplement the Record filed in the Superior Court of

Butts County, Georgia, dated April 18, 2005 (3 pages);

     Respondent’s Exhibit No. 76 – Objections to Petitioner’s

Non-Affidavit Exhibits filed in the Superior Court of Butts

County, Georgia, dated April 18, 2005 (7 pages);

     Respondent’s Exhibit No. 77 – Respondent’s Objections to

Petitioner’s Juror Affidavits filed in the Superior Court of

Butts County, Georgia, dated April 18, 2005 (6 pages);

     Respondent’s Exhibit No. 78 – Objections by Respondent to

Petitioner’s Affidavits filed in the Superior Court of Butts

County, Georgia, dated April 18, 2005 (78 pages);

     Respondent’s Exhibit No. 79 – Reply to Respondent’s

Objection to Motion to Supplement the Record filed in the

Superior Court of Butts County, Georgia, dated April 27, 2005 (5

pages);

     Respondent’s Exhibit No. 80 – Consolidated Response to

Respondent’s Objections to Petitioner’s Affidavits and

Petitioner’s Juror Affidavits filed in the Superior Court of

Butts County, Georgia, dated May 5, 2005 (67 pages);




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     Respondent’s Exhibit No. 81 – Order on Motion to Supplement

the Record, Respondent’s Objections to Petitioner’s Juror

Affidavits and Objections by Respondent to Petitioner’s

Affidavits filed in the Superior Court of Butts County, Georgia,

dated May 31, 2005 (2 pages);

     Respondent’s Exhibit No. 82 – Amended Scheduling Order

filed in the Superior Court of Butts County, Georgia, dated

August 17, 2005 (1 page);

     Respondent’s Exhibit No. 83 - Petitioner’s Post-Hearing

Brief filed in the Superior Court of Butts County, Georgia, on

October 11, 2005 (157 pages);

     Respondent’s Exhibit No. 84 – Respondent’s Post-Hearing

Brief filed in the Superior Court of Butts County, Georgia,

dated December 19, 2005 (151 pages);

     Respondent’s Exhibit No. 85 – Petitioner’s Reply Brief in

Support of Petition for Writ of Habeas Corpus filed in the

Superior Court of Butts County, Georgia, dated February 16, 2006

(114 pages);

     Respondent’s Exhibit No. 86 – Petitioner’s Notice of

Supplemental Authority filed in the Superior Court of Butts

County, Georgia, dated March 9, 2006 (9 pages);




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     Respondent’s Exhibit No. 87 – Respondent’s Proposed Order

filed in the Superior Court of Butts County, Georgia, dated

March 24, 2006 (40 pages);

     Respondent’s Exhibit No. 88 – Petitioner’s Proposed Final

Order filed in the Superior Court of Butts County, Georgia,

dated March 24, 2006 (84 pages);

     Respondent’s Exhibit No. 89 – Petitioner’s Notice of

Supplemental Authority filed in the Superior Court of Butts

County, Georgia, dated June 27, 2006 (5 pages);

     Respondent’s Exhibit No. 90 – Order denying Petition for

Writ of Habeas Corpus in the Superior Court of Butts County,

Georgia, dated December 1, 2008 (41 pages);

     Respondent’s Exhibit No. 91 – Notice of Appeal filed in the

Superior Court of Butts County, Georgia, dated December 3, 2008

(3 pages);

     Respondent’s Exhibit No. 92 – Petitioner’s Application for

Certificate of Probable Cause to Appeal filed in the Georgia

Supreme Court, dated January 30, 2009 (50 pages);

     Respondent’s Exhibit No. 93 – Respondent’s Response in

Opposition to Application for Certificate of Probable Cause to

Appeal filed in the Georgia Supreme Court, dated March 23, 2009

(35 pages);




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     Respondent’s Exhibit No. 94 – Reply to Response to

Application for Certificate of Probable Cause to Appeal filed in

the Georgia Supreme Court, dated May 28, 2009 (54 pages);

     Respondent’s Exhibit No. 95 – Order of Georgia Supreme

Court denying Petitioner’s Application for Certificate of

Probable Cause to Appeal, dated May 3, 2010 (1 page);

     Respondent’s Exhibit No. 96 – Petition for Writ of

Certiorari to the Supreme Court of Georgia in the Supreme Court

of the United States, dated September 30, 2010 (48 pages plus

appendix);

     Respondent’s Exhibit No. 97 – Brief in Opposition on Behalf

of the Respondent in the Supreme Court of the United States,

dated November 9, 2010 (40 pages);

     Respondent’s Exhibit No. 98 – Reply in Support of Petition

for a Writ of Certiorari in the Supreme Court of the United

States, dated November 18, 2010 (20 pages plus appendix); and

     Respondent’s Exhibit No. 99 – Order of the Supreme Court of

the United States denying Petition for Writ of Certiorari, dated

December 6, 2010 (1 page).




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                              CONCLUSION

    Wherefore, Respondent respectfully requests that this Court

consider these documents in ruling on Petitioner’s petition for

federal habeas corpus relief.     As noted, if the Court desires

additional documents, they will be submitted upon request.

Similarly, if counsel for Petitioner identifies any additional

documents which have been inadvertently omitted by Respondent,

any such document will be submitted upon request.


                                 Respectfully submitted,

                                 SAMUEL S. OLENS              551540
                                 Attorney General

                                 MARY BETH WESTMORELAND          750150
                                 Deputy Attorney General

                                 _s/Beth Attaway Burton____________
                                 BETH ATTAWAY BURTON         027500
                                 Senior Assistant Attorney General




Please serve:

BETH ATTAWAY BURTON
Senior Assistant Attorney General
40 Capitol Square, S.W.
Atlanta, Georgia 30334-1300
Telephone: (404) 656-3499
Facsimile: (404) 651-6459




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                       CERTIFICATE OF SERVICE


     I do hereby certify that I have this day electronically

filed this pleading with the Clerk of Court using the CM/ECF

system which will automatically send e-mail notification of such

filing to the following attorney of record:



               Brian Kammer
               Georgia Resource Center
               303 Elizabeth Street
               Atlanta, Georgia 30307



     This 26th day of January, 2011.




                                 s/Beth Attaway Burton   __    __
                                 BETH ATTAWAY BURTON
                                 Senior Assistant Attorney General
